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                                  7                              UNITED STATES DISTRICT COURT
                                  8                             CENTRAL DISTRICT OF CALIFORNIA

                                  9   HOPE DUNN an Individual;                              CASE NO.: 2:21-cv-01751-JFW-AGRx
                                 10                                                         Assigned to Hon. John Walter
                                                   Plaintiff,
                                 11         v.
                                                                                             ORDER TO REMAND ACTION TO
                                 12                                                          STATE COURT
                                      COSTCO WHOLESALE CORPORATION, a
Central District of California
United States District Court




                                      Washington Corporation; MASSIMO ZANETTI
                                 13   BEVERAGE USA, Inc., a Delaware Corporation;            SAC Filed: May 24, 2021
                                 14   EXCELCO TRADING, L.P, a New York Limited
                                      Partnership,                                           Trial Date: June 28, 2022
                                 15
                                                                  Defendants
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                                             Upon considering the Stipulation submitted to the Court, and it appearing for good cause
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                                      shown that the Stipulation should be granted, the Court hereby finds, and decrees as follows:
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                                             1.      IT IS HEREBY ORDERED that this action be remanded to Los Angeles Superior
                                 21
                                                     Court.
                                 22
                                             IT IS HEREBY ORDERED, ADJUDGED AND DECREED.
                                 23

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                                      DATED: November 22, 2021
                                 25                                                Hon. John F. Walter
                                                                                   UNITED STATES DISTRICT JUDGE
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